
47 So.3d 377 (2010)
Arthur HIGH, Appellant,
v.
STATE of Florida, Appellee.
No. 5D10-287.
District Court of Appeal of Florida, Fifth District.
November 12, 2010.
James S. Purdy, Public Defender, and Rose M. Levering, Assistant Public Defender, Daytona Beach, for Appellant.
Bill McCollum, Attorney General, Tallahassee, and Pamela J. Koller, Assistant Attorney General, Daytona Beach, for Appellee.
PER CURIAM.
See Minnesota v. Carter, 525 U.S. 83, 90, 119 S.Ct. 469, 142 L.Ed.2d 373 (1998) ("Thus, an overnight guest in a home may claim the protection of the Fourth Amendment, but one who is merely present with the consent of the householder may not."); see also McCauley v. State, 842 So.2d 897 (Fla. 2d DCA 2003); State v. Mallory, 409 So.2d 1222 (Fla. 2d DCA 1982).
AFFIRMED.
LAWSON, EVANDER and JACOBUS, JJ., concur.
